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iN THE UNITED srATEs DISTRICT CoURT F"ED B"" -“£Q'_'/.. D-C-
FoR THE wEsTERN DisTRICT oF TENNESSEE
WESTERN DIVIsioN 95"1»‘9 ‘2 PH li~= 55
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t RAY sPEARs, CLEH;,£ U'§PETE£T:%DMT
Plaimiff, z;'D r i€l, irit,tir'rila-
v. NO_ 03'2961 13

CANADIAN NATIONAL / lLLlNOIS
CENTRAL RAILROAD, f/k/a
ILLINOIS CENTRAL RAILROAD,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY IUDGMENT

 

Marvin Ray Spears, Plaintiff, filed this action under the Railway Labor Act, (“RLA”), 45
U.S.C. §§ 15 l - l 88, seeking to reverse the decision of the Railway Labor Adjustment Board (“Board”
or “RLAB”) in upholding the decision of the Defendant, Canadian National/Illinois Central Railroad
(“CNIC” or “Railroad”), to terminate the Plaintiff for excessive absenteeism in Septeniber 199().
Before the Court is Defendant’s motion for summary judgment and/or motion to dismiss pursuant
to Rule 56 and Rule lZ(b)(6), F ederal Rules of Civil Proeedure. Plaintiff has responded to the
motion which is now appropriate for disposition

FACTS

 

Plaintiff was employed by the Defendant as a trainman in Memphis, Tennessee. After
missing many work days, CNIC conducted an investigation hearing on September 25, 1996 to
determine whether Plaintiff was excessively absent during the period from June l, 1996 through
September 14, 1996. (Def.’s Mern. Law Supp. Its Mot. Summ. J. Mot. Dismiss Statement

Undisputed Material Facts at 5 (“Det`. ’s Mem.”).) As a member of the United Transportation Union

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(“UTU”), Spears was represented by a union official at the investigation hearing and throughout the
grievance process (Def. ’s Mem. at 3 n.3.) A stenographer, J. B. Milam, prepared a transcript of the
September 25 hearing (Pl.’S Resp. at 2.) On September 30, 1996, Spears was terminated by letter
from W. D. Hall, a Trainmaster for the Defendant, for excessive absenteeism in violation of
operating department rules “P” and “H” requiring Spears to work regularly without undue absences
(Pl. ’s Resp. at 3 .) Plaintiff appealed the decision through the grievance process established by CNIC
and the UTU which ultimately resulted in a review by the Railway Adjustment Board. (Pl.’s Resp.
at 3.) On May 24, 2000, Public Law Board No. 6131 with Robert E. Peterson as the chair and
neutral member rendered a written opinion upholding Plaintift` s termination (Pl . ’s Resp. at 3 .) The
Board concluded that

[t]here is no question in study of the record that the Claimant has a chronic
absenteeism problem, whether for Sickness or other personal reasons As concerns
the charge that brings this case to the Board, during the period of time June 1, 1996
to September 14, 1996, the Claimant was absent over 71 percent of the days available
to work compared with an overall District 5 average for the remaining 93 train
service employees of 12 percent

During the above mentioned period the Claimant was absent on 66 oi` the 72 days
account his having marked off Sick. This period of absence included 25 days during
the period June 1 to July 10, 1996, mostly account, as the Claimant offered in a letter
to the Carrier, a deep cough and a head cold for which he had to take various
medications, and six days account what the Claimant says was a bad case of diarrhea,
for which he finally took Imodium A-D. The Claimant was warned about being
excessively absent on July 9, 1996. Three days later, on July 12, 1996, and running
through August 12, 1996, the Claimant again marked off, maintaining that it took this
amount of time to clear up poison ivy from his aims and face. The Claimant marked
up again on August 13, 1996, worked or was available for work for 14 days, and then
again marked off on September 4, 1996 for some kind of foot problem, and did not
return to work until September 11, 1996.

(Def.’s Supplernental Mem. Law Supp. lts Mot. Summ. J. Mot. Dismiss Statement Undisputed F acts

(“Def.’s Supplemental”), Exhibit F.)

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Acting pro se, Spears filed this lawsuit on December 22, 2003 seeking to overturn the
Board’s decision under the Railway Labor Act. Several months later, Plaintiff retained an attorney
to help him pursue this matterl Spears seeks to be reinstated with pay for all lost time, with seniority
unimpaired and restoration of all benefits (Petition Court Review Adjustment Board Decision at
3-4 (“Petition”).) On April 7, 2005, the Court discovered that the record had not been filed with the
Court pursuant to 45 U.S.C. § 153 First (q),l and consequently, directed the Clerk ofthe Court to
resubmit a copy of the complaint to the RLAB. Thereafter, the Board filed the record with the Clerk
at which time the Court gave the parties time to submit supplemental briefs, which both Plaintiff and
Defendant have done.

STANDARD FOR SUMMARY JUDGMENT

Rule 56(c) provides that a

judgment . . . shall be rendered forthwith if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled

to a judgment as a matter of law.

Fed. R. Civ. P. 56(0); see Celotex Col_'p. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91
L.Ed.2d 265 (1986); Canderm Pharmacal.Ltd.v.ElderPharmaceuticals,1nc.,862 F.2d 597, 601 (6th
Cir. 1988). ln reviewing a motion for summary judgment, the evidence must be viewed in the light
most favorable to the nonmoving party. Matsushita Elec. Indus. Co._ Ltd. v. Zenith Radio Corp., 475

U.S. 574, 587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986). When the motion is supported by

documentary proof such as depositions and affidavits, the nonmoving party may not rest on his

 

1 Section 153 First (q) requires that after the clerk of the court transmits a copy of the
complaint to the Adjustment Board, the Board “shall file in the court the record of the
proceedings on which it based its action.” 45 U.S.C. § 153 First (q).

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pleadings but, rather, must present some “specific facts showing that there is a genuine issue for
trial.” glo_te_x, 477 U.S. at 324, 106 S.Ct. at 2553. lt is not sufficient “simply [to] show that there
is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., 475 U.S. at 586,
106 S.Ct. at 1356. These facts must be more than a scintilla of evidence and must meet the standard
of whether a reasonable juror could find by a preponderance of the evidence that the nonmoving
party is entitled to a verdict. Anderson v. Libertv Lobbv. lnc., 477 U.S. 242, 252, 106 S.Ct. 2505,
2512, 91 L.Ed.2d 202 (1986). Summaryjudgment must be entered “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” M, 477 U.S. at 322, 106 S.Ct. at
25 52. ln this circuit, “this requires the nonmoving party to ‘put up or shut up’ [on] the critical issues
of [his] asserted causes of action.” Lord v. Saratoga Capital, lnc., 920 F. Supp. 840, 847 (W.D.
Tenn. 1995) (citing Street v. J.C. Bradford & Co., 886 F.2d1472, 1478 (6th Cir. 1989)). The “judge
may not make credibility determinations or weigh the evidence.” Adams v. Metiva, 31 F.3d 375,
379 (6th Cir. 1994).
ANALYSIS

Congress passed the Railway Labor Act “to promote stability in labor-management relations
by providing a comprehensive framework for resolving labor disputes.” Hawaiian Airlines, lnc, v.
§o£i§, 512 U.S. 246, 252, 114 S.Ct. 2239, 129 L.Ed.2d 203 (1994). To effect this goal, the RLA
“provides for mandatory arbitration of all disputes ‘growing out of grievances or out of the
interpretation or application of agreements concerning rates of pay, rules, or working conditions
Bradlev v. Alton & Southern Rv. Co., No. 04-1649, 2004 WL 1719297, at "°*2 (7th Cir. Juiy 29,

2004) (citing 45 U.S.C, § 153 First (i)). With regard to an appeal ofa Board’s decision, “U]udicia|

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review of an arbitration award is very limited, and review of the decision of a public arbitration
board under the Railway Labor Act ‘is among the narrowest known to the law. ”’ Finley Lines Joint
Protective Bd. Unit 200 v. Norfolk S. Rv. Co., 312 F.3d 943, 946 (8th Cir. 2002) (quoting Mgf
Maint. of Wav Emnlovees v. Terminal R.R. Ass’n, 307 F.3d 73 7, 739 (8th Cir. 2002). "Courts are
not authorized to review the arbitrator’s decision on the merits despite allegations that the decision
rests on factual errors or misinterprets the parties’ agreement . . . . [l]f an arbitrator is even arguably
construing or applying the contract and acting within the scope of his authority, the fact that a court
is convinced he committed serious error does not suffice to overturn his decision.” Ld. (quoting
Maior League Baseball Players Ass’n v. Garvev, 532 U.S. 504, 509, 121 S.Ct. 1724, 149 L.Ed.2d
740 (2001)).

The Railway Labor Act sets out three grounds for “judicial review of an Adjustment Board’s
decision: (1) failure of the Board to comply with the Railway Labor Act’s requirements; (2) failure
of the Board to conform or confine itself to matters within the scope of its j urisdiction; and (3) fraud
or corruption ofa Board member.” Kinross v. Utah Ry. Co., 362 F.3d 658, 661 (10th Cir. 2004)
(citing 45 U.S.C. § 153 First (q)). ln Union Pacific Railroad Co. v. Sheehan, 439 U.S. 89, 92-93,
99 S.Ct. 399, 58 L.Ed.2d 354 (1978), the Supreme Court made clear that claims oferror arising from
Adjustment Board proceedings, which do not fall within any of the three limited categories of
review, may not be considered The Court observed that “Congress considered it essential to keep
. . . so-called ‘minor’ disputes within the Adjustment Board and out of the courts.” g at 94, 99 S.Ct.
at 401-02. “A court may set aside an arbitration panel’s decision as exceeding the panel’s
jurisdiction only if the award does not ‘draw [] its essence from the letter or purpose of the collective

bargaining agreement ”’ Fine v. CSX Transp., 1nc., No. 99-1645, 2000 WL 1206526, at * 2 (6th Cir.

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Aug. 18, 2000) (quoting Loveless v. Eastern Air Lines. lnc., 681 F.2d 1272, 1276 (1 lth Cir. 1982)).
“[T]he judicial function is at an end in arbitration cases when the court is satisfied that the arbitrators
were interpreting the contract rather than doing something else.” M; (citations omitted). ln order
for a court to overturn the public law board’s decision, the plaintiff is required to prove that the
board’s decision was “wholly baseless and without foundation and reason.” Schneider v. Southern
M, 822 F.2d 22, 24 (6th Cir. 1987).

Defendant argues that the Plaintiff has failed to produce any evidence establishing that the
Board did not comply with the requirements of the RLA and that it did not confine itself to matters
within the scope of its jurisdiction2 ln addition, CNIC asserts that Spears has not established that
the Board’ s decision was baseless and without foundation or reason. Finally, the Railroad maintains
that dismissal is appropriate under Rule 41(b), F ederal Rules of Civil Procedure, for the Plaintiff`s

failure to cooperate in discovery.i‘ The Court will address these arguments in tum.

 

2 ln his complaint, Plaintiff initially asserted that the Board engaged in fraud or
corruption Defendant argues in its motion that Plaintiff has failed to produce any evidence
substantiating the claim. Spears has not addressed this argument in either his first or second
response to Defendant’s motion. Accordingly, it appears that Plaintiff has abandoned this
contention Even if Spears has not foregone this claim, it would still be dismissed due to the lack
of evidence supporting it. _S_Qe Goff v. Dakota, Minnesota & Eastern R.R. Co;p., 276 F.3d 992,
996 (8th Cir. 2002) (holding that under § 153, the plaintiff “must prove the existence of fraud by
clear and convincing evidence, that the fraud was not discoverable by due diligence before or
during the proceeding, and that the fraud was materially related to an arbitrated issue”). In his
deposition, Plaintiff conceded that he was unaware of any fraud or corruption by the Board. (S_ee
Deposition of Marvin Ray Spears at 104-05, attached to Def.’s Second Supplemental Mem. Law
Supp. Its Mot. Summ. J. Mot. Dismiss Statement Undisputed Material Facts (“Def.’s Second
Supplemental Mem.”).) Thus, Spears’ claim on this issue is DISMISSED.

3 However, because Plaintiff has since appeared for his deposition and based on the
Court’s detemiination on Defendant’s other positions, CNIC’s argument under Rule 41(b) need
not be addressedl

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A. The Board 's compliance with the RLA

In his initial response to the Defendant’s motion, Plaintiff contended that the Board failed
to comply with the RLA by not filing a copy of the record with the Court as required by 45 U.S.C .
§ 153 First (q). Now that the record has been submitted by the RLAB, Spears claims that the Board
is not in compliance with the RLA because a transcript of the hearing before the Board was not
included (Pl.’s Second Combined Resp. Supplemental Mem. Def.’s Mot. Summ. J. Dismiss at 3
(“Pl.’s Second Resp.”).) As support for his position, Plaintiff points to 45 U.S.C. § 153 First (q)
which provides that, after the employee has filed a petition with the district court, “[a] copy of the
petition shall be forthwith transmitted by the clerk of the court to the Adjustment Board The
Adjustment Board shall file in the court the record of the proceedings on which it based its action.”
45 U.S.C. § 153 First (q). According to Spears, it is implicit in the statutory provision that, in order
for a court to review the record of a proceeding, a stenographic transcript ofthe Board’s hearing m ust
be available in every case. (Pl. ’s Second Resp. at 4.) Plaintiff submits that he owes no responsibility
to make certain that the proceedings are recorded and transcribed (Pl.’s Second Resp. at 4.)

Section 153 First (q) only requires that the Board file a copy of the record When the Board
filed the record in this case, it included a letter, dated May 6, 2005, which stated that "`we have
enclosed the record of proceedings on which the National Mediation Board based its action in Public
Law Board No. 6131, Award Nos. 8 and 9.” (_S_e_e Docket Entry No. 37 (hereinafter “RLAB
Record”).) Additionally, as CNIC points out, the Board’s opinion noted that it had considered all
the evidence, which apparently included the transcript of the investigation hearing by CNIC, and
found no merit to Plaintiff’s claims. (Def. ’s Suppiemental at 5-6; Opinion of Public Law Board No.

6131, Award No. 09, attached to Petition.) Similar records, including the transcripts of the

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investigation hearings, have been before other courts, although the completeness of the record, i.e.,
the lack of a transcript of the hearing before the Railway Board, was not raised as an issue. S_e_e
_I§M_QY, 362 F.3d at 659 (stating “[t]he record before the Board included the termination hearing
transcript and written submissions from Mr. Kinross and Utah Railway”)', Clayton v. Missouri Pac.
R.R. Co., 452 F. Supp. 107, 108 (M.D. La. 1978) (indicating that “the case was submitted on the
record, including briefs of counsel, transcripts of the initial hearing by the carrier and the findings
of Public Law Board No. 600“). Nothing in 45 U.S.C. § 153 First (q) states that failing to include
in the record a copy of the transcript of the hearing before the Board is a violation of the RLA.
Plaintiff has not cited to any authority suggesting that such an omission would run afoul of the RLA.
Additionally, Spears has not alleged that the Board did not comply with the RLA during the hearing
itself. Even if the failure to provide a transcript of that hearing could be considered a violation of
the RLA, the Court is still without power to overturn the Board’s decision unless it was “wholly
baseless and without foundation and reason.“ §§ Schneider, 822 F.2d at 24. The Board based its
decision on the undisputed fact that Spears was absent from work over 60 days during the period
under investigation (§e§ Opinion of Public Law Board No. 6131, Award No. 09, attached to
Petition.) This reason alone precludes a finding that the Board’s decision was “wholly baseless” or
“without foundation.” Accordingly, because the Board’s decision is not without basis, the Court
finds that its failure either to record and transcribe the hearing or to submit a copy of the transcript
is of no consequence under the Court’s narrow standard of review.

B. Board ’s Corifnement to Matfers Wi'thi'ri the Scope offts Jurr`sdictt`on

“In order for the Court to find that the Board’s decision is outside the scope of the division’s

jurisdiction, the decision must be without foundation in reason or fact . . . or wholly baseless and

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without reason.” Grimes v. Louisville and Nashville R.R. Co.. 583 F. Supp. 642, 651 (S.D. lnd.
1984), aff’d, 767 F.2d 925 (7th Cir. 1985) (citing Gunther v. San Diego & Arizona E. Rv. Co., 382
U.S. 257, 86 S.Ct. 368, 15 L.Ed.2cl 308 (1965); se_e also Ladavv. Chicago Milwaukee. St. Paul and
Pac. R.R. Co., 422 F.2d 1168 (7th Cir. 1970)). lndeed, the Board’s decision may not be disturbed
unless it is found to be “actually and undisputedly without foundation or reason in fact.” 1_,aday7 422
F.2d at 1171.

According to the Plaintiff, the Board acted outside the scope of its jurisdiction because its
denial of Spears’ claim was an attempt by the Board to offset any possible racial challenges by an
African-American employee who was terminated at the same time as Plaintiff, a Caucasian. (Pl.’s
Resp. at 8.) Plaintiff cites to the Board’s decision in which it referenced the other employee’s case
by noting

[a]s the Board stated in its Award No. 8, we can appreciate a need for an employee

to be off from work account occasional illness or a need to attend to a personal

matter. However, as the Board likewise stated in Award No. 8, the Carrier has the

right to expect that its employees will report to work with a high degree of regularity.

We would here also again note, as set forth in the awards of other boards that we

have cited in Award No. 8, that absences for even reasons of illness may, if continued

over a length of time, be held to be excessive and thus cause for an employee to be

dismissed from service
(Opinion ofPublic Law Board No. 6131, Award No. 09, attached to Petition.) ln addition, Spears
points to the coincidental dates involved in his and the other employee’s cases: both employees were
dismissed on September 30, 1996 for absenteeism from June l, 1996 to September 14, 1996. (Pl.’s
Resp. at 9.)

The Court notes that Plaintiff only makes reference to vague comments in the Board’s

decision which references the African-American employee’s dismissal § Finley Lines Joint

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Protective Bd. Unit 200, 312 F.3d at 947 (holding “it is well established that arbitrators may look
to outside sources, including prior unrelated awards, without straying beyond their jurisdiction to
interpret and apply the collective bargaining agreement”). Such a reference is insufficient to cause
this Court to overturn the Board’s decision under its standard ofreview. E Brown v. Burlington
N. R.R. Co., No. 85 C 0093, 1985 WL 2938, at *2 (N.D. lll. Oct. 2, 1985) (stating “this court does
not need to decide whether the practice of discrimination is a legitimate ground for review or
constitutes a failure to comply with the requirements of the [RLA] because we find no evidence of
discrimination by the Board”). Clearly, as Plaintiff admits that he had been absent from work on
various occasions, the Board’s decision to terminate him cannot be said to be “actually and
undisputedly without foundation or reason in fact.” §§ La_day, 422 F.2d at 1 171 . Arbitrators “have
no obligation to the [c]ourt to give their reasons for an award.” Eastern Airlines` inc. v. Transport
Workers Union, 580 F.2d 169, 173 (5th Cir. 1978) (quoting Steelworkers v. Enterprise Corp., 363
U.S. 593, 597-98, 80 S.Ct. 1358, 1361, 4 L.Ed.2d 1424 (1960)). “Mere ambiguity in (his or her)
opinion . . . which permits the inference that the arbitrator may have exceeded (his or her) authority,
is not a reason for refusing to enforce the award.” I_d

Plaintiff also maintains that the Board wrongfully considered his prior leaves of absence
which he took several years before June 1, 1996. Spears claims that his prior leaves improperly
influenced the Board’s decision in concluding that he had been excessively absent from work
between June l, 1996 and September 14, 1996. (Pl.’s Second Resp. at 5-6.) fn response, the
Defendant submits that the only mention of Plaintiff’s earlier leaves of absence was in connection
with the Board’s recognition that Spears had been employed by CNlC for twenty~two years and

argues that nowhere in the decision does it state these previous absences played any role in its

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determination (Def.’s Second Supplemental Mem. at 7.)

Nonetheless, Spears’ argument does not establish that the Board’s decision was baseless
Plaintiff’ s argument merely raises an evidentiary issue which does not fall within any of the grounds
for review under 45 U.S.C. § 153 First (q). w Bates v. Baltimore and Ohio R.R. Co., 9 F.3d 29,
32 (7th Cir. 1 993) (An evidentiary dispute does not fall within any of the narrow jurisdictional bases
for review under 45 U.S.C. § 153 First (q).). Further, in ruling on Plaintiff"s claim, the Board only
cited to Spears’ absences between June 1, 1996 and September 14, 1996 as grounds which would
support his termination. (@ Opinion of Public Law Board No. 6131, Award No. 09, attached to
Petition.) Accordingly, Plaintiff’s claim does not establish that the Board’s decision was without
foundationl Likewise, it is not an issue which may be reviewed under § 153 First (q).

Next, Plaintiff maintains that the Board’ s decision relied on the investigation hearing which
contained flawed calculations comparing the percentage of days Plaintiff was absent from work
versus the number of times his peers were absent. (Pl.’s Resp. at 10.) However, even assuming that
the Plaintiff’s assertions are true, this discrepancy would not allow the Court to overtum the Board’ s
award as “actually and undisputedly without foundation and reason in fact.” _S__e_e Diamond v.
Terminal Ry. Alabama State Docks, 421 F.2d 228, 233 (5th Cir. 1970) (“ln court the findings . . .
of the Board are ‘conclusive.”’). Courts cannot review the arbitrators decision on the merits “despite
allegations that [it] rests on factual errors.” w Finley Lines Joint Protective Bd. Unit 200, 312 F.3d
at 946 (citation omitted). “The federal courts do not sit as super arbitration tribunals in suits brought
to enforce awards of the Adjustment Board They may not substitute their judgments for those of
the Board . . . .” E Diamond, 421 F.2d at 233. Moreover, the Court “need not inquire whether

substantial evidence supports the Board’s awards.” w § Even so, as Plaintiff concedes that he

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was absent from work over 60 days during the period of time between .lune 1 and September 14, the
Court finds the Board’s decision was neither baseless nor wholly without reason or foundation &:_e_
L_ad__ay, 422 F.2d at 1171.

Plaintiff also claims that the Board’s decision was erroneous because W. D. Hall, the
investigating officer, would not allow R. N. Porter, the employee representative, to question
Plaintiff"s witness, S. J. Peregoy, at the investigation hearing. (Pl.’s Second Resp. at 8.) At the
hearing, Hall restricted Porter’s questioning of Peregoy to unsafe work conditions existing between
June 1, 1996 and September 14, 1996 because that was the period under investigation (RLAB
Record, Ex. A at 37-38.) However, assuming that matters in the investigation hearing could render
the Board’s decision baseless, this is an evidentiary dispute which, as stated above, does not fall

within any of the narrow jurisdictional grounds for review. S_ee Bates, 9 F.3d at 32. Moreover,

 

federal courts may not Substitute their judgment for those of the Board and need not determine
whether substantial evidence supports the award §§ Diamond, 421 F.2d at 233. The fact remains
that Plaintiff missed a substantial number of days during the period in question The Court finds that
Hall’s limitation in questioning does not render the Board’s decision improper.

Next, Plaintiff states in his memorandum that he adopts the arguments set forth in pages 3
through 1 1 of the Employee’s Subrnission filed before Public Law Board No. 6131 . (w Pl. ’ s Resp.,
Ex. 1 & 3.) ln his submission, Spears argues that the Board incorrectly interpreted the terms “be
absent” and asserts that he could not return to work and still be in compliance with Rule P of the
agreement However, a court’s judicial function is at an end “when the court is satisfied that the
arbitrators were interpreting the contract rather than doing something else.” E M, No. 99-1 645,

2000 WL 1206526, at *2. As Plaintiff is arguing that the Board incorrectly interpreted Rule P, the

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Court finds Spears’ argument unpersuasive § Finlev Lines Joint Protective Bd. Unit 200, 312
F.3d at 946 (courts may not review the board’s decision even when a party claims that it
misinterpreted the parties’ agreement).

Likewise, in Plaintiff`s second response, he claims that any use of a percentage comparing
his absenteeism to his peers “is contrary to the contractual rights set forth in the Schedule of`Wages
and Rules, revised January 1, 1986.” (&e Pl.’s Second Resp. at 9 (citing RLAB Record, Ex. N).)
Spears points to Article 3 of the revised Schedule which states

[t]he management recognizes that in some circumstances an employee is entitled to

be permitted to be absent from work regardless of the availability of extra men . . .

The management also recognized that, for good reason, such as urgent personal

business or working long hours, an employee should be permitted to be absent from

work within reasonable limits . _ lt is recognized that Transportation Department

Rule P requires permission to be off. . . Finally, it is recognized that the company is

warranted in controlling the privileges of laying off although it should do so

reasonably
(Pl.’s Second Resp. at 9 (quoting RLAB RecordJ Ex. N).)

After examining the language in Article 3 highlighted by Spears, the Court is unable to
conclude that such language prevents the use of a percentage of Plaintiff` s absences as evidence
Furthermore, because interpretation of the contract is left to the Board and not to the Court,
Plaintiff’ s argument is unavailing § Assoc. of F light Attendants v. Horizon Air lndus., lnc., 280
F.3d 901, 906 (9th Cir. 2002) (stating that under § 153 the Board has exclusive jurisdiction to
interpret a collective bargaining agreement).

Finally, Spears submits that Hall was biased because he was both the officer conducting

Plaintiff’ s investigation hearing as well as the charging officer. (,SE Pl.’s Second Resp. at 8.) ln

response, CNIC contends that Plaintiff has offered no evidence that Hall oversaw the investigation

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hearing in an improper manner. (Def.’s Reply Br. Supp. Its Mot. Summ. J. at 10.) Spears has not
cited to any legal authority nor has the Court found any which would support his contention
Moreover, the Court notes that, although Hall took part in the initial investigation hearin g conducted
by CNIC, he did not sign the Board’s opinion which stated that it reviewed the investigation hearing
and independently rendered its decision (Y Opinion of Public Law Board No. 6131, Award No.
09, attached to Petition.) Without any evidence demonstrating how Hall’s involvement biased his
overseeing ofthe investigation hearing or the decision of the Board, the Court finds Spears’ assertion
without basis §e_e M, 422 F.2d at 1171 (stating that the Board’s decision may not be disturbed
unless it was “actually and undisputedly without foundation or reason in fact”).
CONCLUSION

For the reasons articulated herein, the Defendant’s motion for summary judgment is

GRANTED.

IT rs so oRDERED this Yaay orAuguSt, 2005.

ri/6w\

.DA rEL BREEN \
UNIT n srArns Disrnicr JUDGE

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UNITED STATES DISTRIC= COURT- WESTERl\l DlSTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02961 was distributed by fax, mail, or direct printing on
August 3, 2005 to the parties listed

 

 

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